Case o-25-/1L000-reg VOC Ll Filed Us/s0izo

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United States Bankruptcy Court for the:
New York

(State)

Eastern District of

Case number (if known):

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Chapter 7

Entered Vs/aQ/25 1479500

LJ Check if this is an

amended filing

04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name

2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer
Identification Number (EIN)

4. Debtor’s address

5. Debtor’s website (URL)

6. Type of debtor

Official Form 201

BEST HAND REAL ESTATE CORP.

 

 

 

 

 

—82-3398683_

Principal place of business

230 Roslyn Rd.

 

Mailing address, if different from principal place
of business

 

Number Street

 

 

 

 

Number Street

Mineola NY 11501

City State ZIP Code
q NASSAU

County

P.O. Box

 

City State ZIP Code

Location of principal assets, if different from
principal place of business

 

Number Street

 

 

City State ZIP Code

 

W corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

(J Partnership (excluding LLP)
(C] Other. Specify:

 

Voluntary Petition for Non-individuals Filing for Bankruptcy page 1

 
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Debtor

BEST HAND REAL ESTATE CORP. Case number (Paonia

 

 

Name

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attacha
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Official Form 201

A. Check one:

() Health Care Business (as defined in 11 U.S.C. § 101(27A))
WAsingic Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Railroad (as defined in 11 U.S.C. § 101(44))

LJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q Clearing Bank (as defined in 11 U.S.C. § 781(3))

C) None of the above

B. Check ail that apply:

Q Tax-exempt entity (as described in 26 U.S.C. § 501)

LL} investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CL) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Awww.uscourts.gov/four-digit-national-association-naics-codes .

 

 

Check one:

W chapter 7

C) Chapter 9
LJ Chapter 11. Check aif that apply.

L) Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

C) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Qa plan is being filed with this petition.

Q) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

LI) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

O) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C) Chapter 12

io

Ll Yes. District When Case number
MM / DD/YYYY

District When Case number
MM / DD/YYYY

Wri

Cl Yes. Debtor Relationship

District When
MM / DD /YYYY

Case number, if known

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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BEST HAND REAL ESTATE CORP. ESeermberEe

Name

Debtor

 

11. Why is the case filed in this Check all that apply:

district?
Woedior has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

LA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have Whi

possession of any real LJ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
property or personal property

that needs immediate Why does the property need immediate attention? (Check all that apply.)

attention?

Q) tt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

QI It needs to be physically secured or protected from the weather.

LJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

Q) Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

wv. property insured?
No

LI Yes. insurance agency

 

 

 

 

Contact name
Phone
ea Statistical and administrative information
13. Debtor’s estimation of Check one:
available funds CQ) gunds will be available for distribution to unsecured creditors.
After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
. W4 C) 1,000-5,000 L) 25,001-50,000
14, ee number of Q 50-99 OQ) 5,001-10,000 Q 50,001-100,000
L) 100-199 LJ 10,001-25,000 OQ) More than 100,000
O 200-999
Senne C2 $1,000,001-$10 million C) $500,000,001-$1 billion
15. Estimated assets $50,001-$100,000 CO $10,000,001-$50 million © $1,000,000,001-$10 billion
CJ $100,001-$500,000 LJ $50,000,001-$100 million CJ $10,000,000,001-$50 billion
C2} $500,001-$1 million () $100,000,001-$500 million (J More than $50 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
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pepe? BEST HAND REAL ESTATE CORP, leas nurfiber teen
Name
oo noe C} $1,000,001-$10 million LJ $500,000,001-$1 billion
16. Estimated liabilities $50,001-$100,000 O) $10,000,001-$50 million O) $1,000,000,001-$10 billion
CJ $100,001-$500,000 CJ $50,000,001-$100 million (J $10,000,000,001-$50 billion
C3 $500,001-$1 million LJ $100,000,001-$500 million L) More than $50 billion

i Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature Of = The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

 

 

 

 

debtor petition.
™ | have been authorized to file this petition on behalf of the debtor.
mB | have examined the information in this petition and have a reasonable belief that the information is true and
correct.
| declare under penalty of perjury that the foregoing is true and correct.
Excise) 3/30/2023
MM / DDT YYYY
x 7“, A sai Dennis Anninos
Signature of authorized representative of debtor Printed name
Title VPresident
18. Signature of attorn
9 ey x Date
Signature of attorney for debtor MM /DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Email address
Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: BEST HAND REAL ESTATE COR Q.

Debtor(s)
X

 

AFFIRMATION OF FILER(S)

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: Dennis Anninos

Address: 230 Roslyn Rd. Mineola NY 11501

 

Email Address:

 

5169455174

Phone Number:

 

Name of Debtor(s); _BEST HAND REAL ESTATE CORP.

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING: As VPresident | filed the bankruptcy petition for my Corp.

 

El I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:

I WAS NOT PAID.
LE] I WAS PAID.

Amount Paid: $ 0

I/We hereby affirm the information above under the penalty of perjury.

Oo —

Dated: 3/30/2023

 

Filer’s Signature

 
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Debtor name BEST HAND REAL ESTATE CORP.

 

United States Bankruptcy Court for the: Eastern District of NY
(State)
Case number (If known): Check if this is an

 

amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
Q) No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
W Yes. Fill in all of the information betow.

Co List Creditors Who Have Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one aoe S i eee - Rterel
secured claim, list the creditor separately for each claim. mount of claim alue of collatera
Do not deduct the value that supports this
of collateral. claim
Al Creditor’s name Describe debtor's property that is subject to a lien
Wilmington Trust Residential ¢ 682,868 $555,555
Creditor’s mailing address
1207 N Union St
Wilmington, DE 19806 Describe the lien
tst Mortgage
Creditor’s email address, if known Is the creditor an insider or related party?
No
QO Yes
Date debt was incurred 11/2017 Is anyone else liable on this claim?
Last 4 digits of account 1d No
humber 9 6532 C) Yes. Fill out Schedule H: Codebtors (Official Form 206H).
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
a No . oo : | . U Contingent
Yes. Specify each creditor, including this creditor, QO Unliquidated
and its relative priority. QO Disputed
Ey Creditor’s name Describe debtor’s property that is subject to a lien
$ $
Creditor’s mailing address
Describe the lien
Creditor’s email address, if known Is the creditor an insider or related party?
O) No
OO yes
Date debt was incurred Is anyone else liable on this claim?
Last 4 digits of account LI) No
‘g! foun C) Yes. Fill out Schedule H: Codebtors (Official Form 206H).
number _
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
UL] No Q Contingent
CQ) Yes. Have you already specified the relative QO unliquidatea
priority? Q Disputed
UO No. Specify each creditor, including this
creditor, and its relative priority.
CQ) Yes. The relative priority of creditors is
specified on lines
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional ¢ $82,868

Page, if any.

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of _1
Case o-25-/1L000-reg VOCl Filed Us/s0izZo Entered Vs/s0/25 14755°00

MRC MLCT Leeli meme Ham UiCemer RT m UT MUUTS B

 

Debtor Name

United States

Dennis Anninos

Bankruptcy Court for the: _ Eastern District of NY

(State)

Case number (if known):

 

Official Form 202
Declaration Under Penalty of Perjury for Non-iIndividual Debtors 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit

this form for
and any ame

the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
ndments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the

document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING --

Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

wa Declaration and signature

lam

the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or

another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Q

wf

Q

UO oood

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Other document that requires a declaration _ _

| declare under penalty of perjury that the foregoing is true an

id to?
, A
executed on 3/80/2023 x £4. CA__

NY

MM/DD/YYYY Signature of individual signing on behalf of debtor

Dennis Anninos
Printed name

VPresident

Position or reiationship to debtor

 

 

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
Case o-25-/1L000-reg VOC Ll Filed Us/s0izZo Entered Vs/s0/25 14755700

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): BEST HAND REAL ESTATE CORP. CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure

concerning Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;
(ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general
partners; or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that

was or is included in the property of another estate under 11 U.S.C. § 541(a).]
[¥]No RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME,
[ | THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE STILL PENDING (Y/N): [Uf closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(ischarged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASE:

 

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE STILL PENDING (Y/N): [Jf closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED
IN SCHEDULE “A” OF RELATED CASE:

 

 

(OVER)
Case o-25-/1L000-reg VOCLl Filed Us/s0iZo Entered Vs/s0/25 14755700

DISCLOSURE OF RELATED CASES (cont’d)

3. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE STILL PENDING (Y/N): [Uf closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)
MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED
IN SCHEDULE “A” OF RELATED CASE:

 

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.
TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form. >)

re: /)
Glew C (An

Signature of Debtor's Attorney Signature of Pro Se Debtor/Petitioner

 

 

230 Roslyn Rd.
Mailing Address of Debtor/Petitioner

Mineola NY 11501
City, State, Zip Code

 

 

 

Email Address

5169455174
Area Code and Telephone Number

 

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.

USBC - 17 Rev 09/15/11
Case o-25-/1L000-reg VOCLl Filed Us/s0izZo Entered Vs/s0/25 14755700

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re:
BEST HAND REAL ESTATE CORP. Case No.

Chapter 7

Debtor(s)

 

VERIFICATION OF CREDITOR MAT RIX/LIST OF CREDITORS

 

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that
the creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: 3/30/2023

= 4
(AGx_ i Ae

Debtor — ac

 

Joint Debtor

 

Attorney for Debtor

USBC-44 Rev. 3/17/05
Case o-25-/1L000-reg VOC Ll Filed Us/s0izZo Entered Vs/s0/25 14755°00

Wilmington Trust
1207 N Union St.
Wilmington, DE 19806
 

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